                                Case
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                                Nevada Bar No. 13848
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                                Email: dkrieger@kriegerlawgroup.com
                      13

                      14        Counsel for Plaintiff

                      15                                         UNITED STATES DISTRICT COURT

                      16                                             DISTRICT OF NEVADA

                      17        VICTORIA NORMAN,                               Case No. 2:20-cv-01018-GMN-NJK
                      18                            Plaintiff,                 SUBSTITUTION OF ATTORNEY
                      19                v.                                     Complaint filed: June 8, 2020
                      20        EQUIFAX INFORMATION SERVICES,
                                LLC; *(1(5$/,1)250$7,21
                      21        6(59,&(6,1&and LEXISNEXIS RISK
                                SOLUTIONS, INC.,
                      22                       Defendants.
                      23
                                        Plaintiff Victoria Norman hereby substitutes Matthew I. Knepper, Esq., Miles N. Clark,
                      24

                      25        Esq., and Shaina Plaksin, Esq., of the law firm KNEPPER & CLARK LLC, located at 5510 So.

                      26        Fort Apache Road, Suite 30, Las Vegas, Nevada 89148 and David H. Krieger, Esq., of the law
                      27        firm KRIEGER LAW GROUP, LLC, located at 2850 W. Horizon Ridge Parkway, Suite 200,
                      28
   KNEPPER & CLARK LLC
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                                Case
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                                Henderson, Nevada 89052 as attorney of record in place and stead of:
                         1

                         2

                         3             Michael Kind, Esq.
                                       KIND LAW
                         4             8860 South Maryland Parkway, Suite 106
                                       Las Vegas, Nevada 89123
                         5

                         6             -and-

                         7             George Haines, Esq.
                                       FREEDOM LAW FIRM, LLC
                         8             8985 S. Eastern Ave., Suite 350
                                       Henderson, Nevada 89123
                         9

                      10

                      11
                                 DATED: Jul 28 2020                            ______________________________________
                      12                                                       Plaintiff, Victoria Norman

                      13
                                I CONSENT TO THE ABOVE SUBSTITUTION.
                      14

                      15
                                 DATED: July 16, 2020                          /s/ Michael Kind, Esq.
                      16                                                       Michael Kind, Esq.
                      17

                      18                                                       /s/ George H. Haines, Esq.
                                 DATED: July 16, 2020
                      19                                                       George H. Haines, Esq.

                      20

                      21        //

                      22        //

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                      24        //

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   KNEPPER & CLARK LLC
     ATTORNEYS AT LAW                                                       2 of 4
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                                I am duly admitted to practice in this District.
                         1

                         2      ABOVE SUBSTITUTION ACCEPTED.

                         3

                         4       DATED: July 17, 2020                                 /s/ David H. Krieger, Esq.
                                                                                      David H. Krieger, Esq.
                         5

                         6
                                 DATED: July 17, 2020                                 /s/ Matthew I. Knepper, Esq.
                         7                                                            Matthew I. Knepper, Esq.

                         8
                                                                                      /s/ Miles N. Clark, Esq.
                         9       DATED: July 17, 2020                                 Miles N. Clark, Esq.

                      10

                      11         DATED: July 17, 2020                                 /s/ Shaina R. Plaksin, Esq.
                                                                                      Shaina R. Plaksin, Esq.
                      12

                      13
                                                  ORDER GRANTING SUBSTITUTION OF ATTORNEY
                      14
                                IT IS SO ORDERED.
                      15                                               ________________________________________
                                                                       UNITED  STATES
                                                                       United States   DISTRICT
                                                                                     Magistrate   JUDGE
                                                                                                Judge
                      16
                                                                                                                 July 29, 2020
                      17                                                                                 Dated: _______________

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                      19

                      20

                      21

                      22

                      23
                                                                                       Norman v. LexisNexis Risk Solutions, Inc. et al
                      24                                                                       Case No.: 2:20-cv-01018-GMN-NJK

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